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                                                                                                E-FILED
                                                                  Tuesday, 05 April, 2011 04:34:37 PM
                                                                        Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

ASHOOR RASHO, PATRICE DANIELS, )
GERRODO FORREST, LYNDA SMITH,  )
LATERIAL STINSON, and KEITH    )
WALKER,                        )
                               )                   No. 1:07-CV-1298-MMM-JAG
          Plaintiffs,          )
                               )                   Judge Michael M. Mihm
     v.                        )
                               )                   Magistrate Judge John A. Gorman
DIRECTOR ROGER E. WALKER, JR., )
DEPUTY DIRECTOR ROBERTA FEWS, )
DR. WENDY NAVARRO, DR. SYLVIA  )
MAHONE, EDDIE JONES, DR.       )
WILLARD ELYEA, DR. JOHN        )
GARLIC, DR. MICHAEL F. MASSA,  )
and WEXFORD HEALTH SOURCES,    )
INC.                           )
                               )
          Defendants           )

  NOTICE OF DISMISSAL OF DEFENDANT WEXFORD HEALTH SOURCES, INC.

        Plaintiffs, by their attorneys, hereby dismiss Defendant Wexford Health Sources, Inc.

from this action without prejudice pursuant to Fed. R. Civ. P. 16(a)(1)(A)(i). Defendant

Wexford Health Sources, Inc. has never served an answer or a motion for summary judgment in

this action.


                                             Respectfully submitted,


April 5, 2011                                /s/ Harold C. Hirshman
                                             One of the Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on April 5, 2011, s/he caused the
foregoing document to be filed with the Clerk of the Court using the CM/ECF system, which
will send notice of electronic filing to:

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